Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 1 of 11 PageID# 29872




                               Exhibit D
Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 2 of 11 PageID# 29873




                                 PX-325
      Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 3 of 11 PageID# 29874



  From:                                Zabek, Jason (CCI-Atlanta)
  Sent:                                Thursday, February 28, 2013 11 :28 AM
  To:                                  Civiletto, John (CCI-Atlanta)
  Subject:                             RE: This Is What the Copyright Alert System Looks Like in Action


  Anytime ...
  Please know that these messages have changed overtime and each time we work with Legal and customer care to make
  sure everyone is happy.

  Have good day.



  cox
  Jason Zabek
  Manager, Customer Safety
  404-269-8129 tel
  6305-A Peachtree Dunwoody Road , Atlanta GA 30328
  CTECH A10-154

  Visit the MyAxis page : TechOps
  (There are things that go bump on the Internet;
  We are the ones who bump back!)



  From: Civiletto, John (CCI-Atlanta)
  Sent: Thursday, February 28, 2013 11:19 AM
  To: Zabek, Jason (CCI-Atlanta)
  Subject: RE: This Is What the Copyright Alert System Looks Like in Action

  Got it..thx!


  From: Zabek, Jason (CCI-Atlanta)
  Sent: Thursday, February 28, 2013 11: 18 AM
  To: Civiletto, John (CCI-Atlanta); Agcaoili, Phil (CCI-Atlanta)
  Subject: RE: This Is What the Copyright Alert System Looks Like in Action

  Here ya go:

  Dear Customer,

  This message is to advise that Cox Communications has received a notice claiming that you are using your Cox High
  Speed Internet service to post or transmit material in violation of U.S. Copyright law. We have included a copy of the
  complaint, which identifies the party raising it and the material claimed to be infringing.

  We ask that you review the complaint and, if it is valid, promptly remove or disable access to the infringing material. If
  you disagree with the claims in the notice, you should contact the sender, and not Cox, to resolve the matter.

  As an Internet Service Provider, Cox is responsible, under the Digital Millennium Copyright Act ("DMCA"), to advise when
  we receive a notice asserting infringement by you. We are also required to take appropriate action if further claims are
  received that you do not resolve.




HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                                 COX- SONY- 00512332
                                                                                                                 PX-0325.0001
      Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 4 of 11 PageID# 29875
  The material that you post or share online is your responsibility. Cox encourages responsible Internet use, but we do not
  monitor nor control the information you share. We have a duty, however, to take progressive steps when we received
  complaints of infringement.

  If we continue to receive infringement claims such as this one, concerning your use of our service, we will suspend your
  account and disable your Internet connection until you confirm you have removed the infringing material.

  To learn more about your responsibilities concerning copyrighted material, please refer to our help article at:
  http://ww2.cox.com/PeerToPeerNetworks

  General information & FAQs about DMCA notices:

  http://www.respectcopyrights.org/

  https ://www.ri aa.com/tool sforpa rents . ph p ?content sel ector=resou rces-m usi c-copyright-noti ces

  If you would like to reply to this email, please keep the subject line intact for tracking purposes.

  Sincerely,

  Cox Customer Security




  cox
  Jason Zabek
  Manager, Customer Safety
  404-269-8129 tel
  6305-A Peachtree Dunwoody Road, Atlanta GA 30328
  CTECH A10-154

  Visit the MyAxis page: TechOps
  (There are things that go bump on the Internet;
  We are the ones who bump back!)



  From: Civiletto, John (CCI-Atlanta)
  Sent: Thursday, February 28, 2013 11: 16 AM
  To: Zabek, Jason (CCI-Atlanta); Agcaoili, Phil (CCI-Atlanta)
  Subject: RE: This Is What the Copyright Alert System Looks Like in Action

  Ah - thanks for putting the pieces together - I guess in my mind I was thinking about CATS but I didn't realize today that
  we had the progressive steps all the way to termination ...

  Just for my education can you send me examples of our notification emails ... doesn't have to be every one ... just a
  couple ...

  Thx!


  From: Zabek, Jason (CCI-Atlanta)
  Sent: Thursday, February 28, 2013 9 :06 AM
  To: Civiletto, John (CCI-Atlanta); Agcaoili, Phil (CCI-Atlanta)
  Subject: RE: This Is What the Copyright Alert System Looks Like in Action

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HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                                    COX- SONY- 00512333
                                                                                                                    PX-0325.0002
        Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 5 of 11 PageID# 29876
  Hello Gentlemen,

  Cox has had a policy on this ever since I can remember and we have always enforced it. We have a more liberal strike
  policy that we enforce. They use the number 6, we are around 10 before termination. We only terminate 5 to 6 people
  a year and if they call me and start crying and begging, I feel bad and turn them back on.
  It starts with several warnings, then quarantine, then a strong lecture and if needed, termination.
  Lucky, 80% of our customers that share copyrighted material stop by the 2nd warning. At each step we educate them on
  the illegal activity and our AUP.

  At this time, we are not using IBN (in browser) to warn the customer, we use email and our walled garden. That could
  change, yet our M&P has worked well over the past years so there is no need to add IBN right now.

  What this new Copyright Alert system has done, is copy what we have been doing for years with some slight
  modifications within each ISP.
  Randy Cadenhead was part of the discussions surrounding this new system . He helped to mold part of the agreement
  yet Cox decided not to participate for several reasons; We already had a system in place and working, they wanted
  customer calls to go to a call center run by a third party beholden to many movie studios, record companies, etc and we
  were not going to let them have access to our customers or their info and there was a fee that each ISP paid to this third
  party.

  We have worked closely with every large company (HBO, Universal, Warner Bros, etc) to have them digitally sign each
  complaint. This allows us to automate 90% of the complaints. It is probably higher than 90% but I have not had enough
  coffee so it was easier to type ... ©

  Last month, CATS handled 50670 DMCA complaints, taking action automatically compared to 2409 DMCA complaints
  that had to worked manually by our teams. We get well over

  Does that help? Holler if I have not answered your questions.

  cox
  Jason Zabek
  Manager, Customer Safety
  404-269-8129 tel
  6305-A Peachtree Dunwoody Road, Atlanta GA 30328
  CTECH A10-154

  Visit the MyAxis page: TechOps
  (There are things that go bump on the Internet;
  We are the ones who bump back!)



  From: Civiletto, John (CCI-Atlanta)
  Sent: Thursday, February 28, 2013 8:30 AM
  To: Zabek, Jason (CCI-Atlanta); Agcaoili, Phil (CCI-Atlanta)
  Subject: FW: This Is What the Copyright Alert System Looks Like in Action

  Guys - are we moving down this road also? I haven't heard about it... if so, can I get a quick summary/briefing.

  thx




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HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                                COX- SONY- 00512334
                                                                                                                PX-0325.0003
       Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 6 of 11 PageID# 29877


  This Is What the Copyright Alert System Looks
  Like in Action
  Gizmodo I Feb 28, 2013
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   By now, you've heard enough about the Copyright Alert System to know what it is and,
   perhaps, how useless it could be. But what the hell will it look ...




                Pulse is a fast, fun and beautiful way to read your favorite biogs, magazines,
                             and newspapers. Start using pulse today (it's free) .


  Sent from my mobile ....




                                                                      4




HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                        COX- SONY- 00512335
                                                                                                        PX-0325.0004
Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 7 of 11 PageID# 29878




                                 PX-327
     Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 8 of 11 PageID# 29879




  From:                             Victoria Sheckler <VSheckler@riaa.com >
  Sent:                             Thursday, April 18, 2013 11:00 AM
  To:                               Cadenhead, Randy (CCI-Atlanta-LO)
  Cc:                               Beck, Brent (CCI-Atlanta)
  Subject:                          RE: notice limit



  Thanks.


  From: Cadenhead, Randy (CCI-Atlanta-LO) [mailto:Randy.Cadenhead@cox.com]
  Sent: Thursday, April 18, 2013 10:58 AM
  To: Victoria Sheckler
  Cc: Beck, Brent (CCI-Atlanta)
  Subject: RE: notice limit

  I've checked with our technical team . We do want to be as helpful as we can, but we have to be mindful of the
  call volume that notices generate. They think that we can try accepting 600 per week day, subject to
  unexpected call concerns that might arise.
  Does that sound OK?




  Ra«4~~
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  -
  Privacy Counsel
  Cox Communications
  404 269 7671
  Randy.Cadenhead@Cox.com


  From: Victoria Sheckler [mailto:VSheckler@riaa.com]
  Sent: Tuesday, April 16, 2013 9:33 PM
  To: Cadenhead, Randy (CCI-Atlanta-LO)
  Subject: RE: notice limit

  How about 500 or 600 / weekday?


  From: Cadenhead, Randy (CCI-Atlanta-LD) [mailto:Randy.Cac;tenhead@..c;_ox.com]
  Sent: Tuesday, April 16, 2013 8:56 AM
  To: Victoria Sheckler
  Subject: RE: notice limit

  Vicky,
  Good to hear from you again .




HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                      COX- SONY- 00519017
                                                                                                      PX-0327.0001
     Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 9 of 11 PageID# 29880
  We have a fairly hard limit on the number of calls from customers that our team can handle in a day, but within
  those parameters, we would be happy to discuss the number of notices that we accept from you. Can you give
  me some sense of what you are thinking?


  Ra«4~~

  ..
  -
  Privacy Counsel
  Cox Communications
  404 269 7671
  Randy.Cadenhead@Cox.com


  From: Victoria Sheckler [mailto:VSheckler@riaa.com]
  Sent: Friday, April 12, 2013 4:39 PM
  To: Cadenhead, Randy (CCI-Atlanta-LO)
  Cc: Mark McDevitt
  Subject: notice limit

  Randy- I hope you're well. We'd like to increase the number of p2p notices we send to Cox. I think currently the Cox
  limit is at about 400/day, and we'd like to increase it. We look forward to hearing from you. - Vicky

  vicky sheckler I senior vice president, deputy general counsel I recording industry association of america I 1025 F
  street, NW 10th floor I washington, de 20004 I 202.775.0101 (m) I 202.857.9603 (d) I 703-533-3714 (c)




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HIGHLY CONFIDENTIAL -ATTORNEYS' EYES ONLY                                                               COX- SONY- 00519018
                                                                                                               PX-0327.0002
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                                  PX-486
 Case 1:18-cv-00950-PTG-JFA Document 684-4 Filed 01/31/20 Page 11 of 11 PageID# 29882

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U.S. Recorded Music Revenues by Format                                                                                                                                                                   statistics is hereby granted, as long as proper
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